     Case 1:03-cr-10329-PBS Document 1577 Filed 06/21/10 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



                          )
UNITED STATES OF AMERICA, )
                          )
          v.              )            CRIMINAL NO. 03-10329-PBS
                          )
ANGELO BRANDAO,           )
             Defendant.   )
                          )


                              DENIAL OF
                    CERTIFICATE OF APPEALABILITY

                            June 21, 2010


SARIS, U.S.D.J.

     Pursuant to 28 U.S.C. § 2253(c)(3), the court DENIES the

request for a certificate of appealability on the ground that the

applicant has not made a substantial showing of the denial of a

constitutional right.




                                       S/PATTI B. SARIS
                                       United States District Judge
